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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7    DAVONTE DOMINIQUE SYKES,                               Case No. 22-cv-01945-JSC
                                                        Plaintiff,
                                   8
                                                                                               ORDER OF TRANSFER
                                                 v.
                                   9
                                                                                               Re: ECF No. 6
                                  10    WARDEN,
                                                        Defendant.
                                  11

                                  12           Plaintiff, a California prisoner proceeding without representation by a lawyer, filed this
Northern District of California
 United States District Court




                                  13   civil rights action under 42 U.S.C. § 1983. Plaintiff is located at Kern Valley State Prison

                                  14   (“KVSP”). He complains about the conditions of his confinement at the California Correctional

                                  15   Institute (“CCI”) in Tehachapi, California, where Defendants are also located.

                                  16           When, as here, jurisdiction is not founded on diversity, venue is proper in the district in

                                  17   which (1) any defendant resides, if all of the defendants reside in the same state, (2) the district in

                                  18   which a substantial part of the events or omissions giving rise to the claim occurred, or a

                                  19   substantial part of property that is the subject of the action is situated, or (3) a judicial district in

                                  20   which any defendant may be found, if there is no district in which the action may otherwise be

                                  21   brought. 28 U.S.C. § 1391(b). Where a case is filed in the wrong venue, the district court has the

                                  22   discretion either to dismiss the case or transfer it to the proper federal court “in the interest of

                                  23   justice.” 28 U.S.C. § 1406(a).

                                  24           Plaintiff’s allegations arise out of events occurring at CCI, and the allegedly responsible

                                  25   officials are located there. CCI is in Kern County; KVSP (where Plaintiff is currently

                                  26   incarcerated) is also in Kern County. Kern County lies within the venue of the United States

                                  27   District Court for the Eastern District of California. See 28 U.S.C. § 84.

                                  28           Accordingly, in the interest of justice and pursuant to 28 U.S.C. § 1406(a), this case is
                                           Case 3:22-cv-01945-JSC Document 8 Filed 07/08/22 Page 2 of 2




                                   1   TRANSFERRED to the United States District Court for the Eastern District of California.

                                   2          The Clerk of the Court shall transfer this matter forthwith. In light of this transfer, the

                                   3   Court defers to the Eastern District for ruling on the motion for leave to proceed in forma pauperis.

                                   4          The Clerk shall terminate docket number 6 from this Court's docket.

                                   5          IT IS SO ORDERED.

                                   6   Dated: July 8, 2022

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                                                                                                     JACQUELINE SCOTT CORLEY
                                   9                                                                 United States District Judge
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                                  12
Northern District of California
 United States District Court




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